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 1
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      PAUL BARRESI
 8
                                   UNITED STATES DISTRICT COURT
 9

10                                CENTRAL DISTRICT OF CALIFORNIA
11
                                         EASTERN DIVISION
12

13

14    CHRISTINA TAFT,                             CASE NO. 5:24-cv-01930-TJH (DTB)
                                                  [Hon. Terry J. Hatter, Jr.]
15
                     Plaintiff,
16                                                DEFENDANT PAUL BARRESI’S
               vs.                                NOTICE OF MOTION AND
17
                                                  MOTION TO DISMISS COMPLAINT
18    PAUL BARRESI; ADAM R.                       PURSUANT FED. R. CIV. P. 12(b)(6);
      WALDMAN; and DOES 1 through 10,             MEMORANDUM OF POINTS AND
19
      inclusive,                                  AUTHORITIES; DECLARATION OF
20                                                MELISSA Y. LERNER IN SUPPORT
                     Defendants.                  THEREOF
21

22                                                Date: December 16, 2024
                                                  Time: Under Submission
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 1    TO ALL INTERESTED PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that on December 16, 2024 in Courtroom 9C in the
 3    United States Courthouse located at 350 W. 1st Street, Los Angeles, CA 90012, the
 4    Honorable Terry J. Hatter, Jr. presiding, Defendant PAUL BARRESI (“Defendant”)
 5    will and hereby do move the Court for an Order under Federal Rule of Civil Procedure
 6    12(b)(6) to dismiss Plaintiff CHRISTINA TAFT’s (“Plaintiff”) complaint as to all
 7    claims against Defendant on the grounds that Plaintiff has failed to allege a cognizable
 8    legal theory and/or sufficient facts to support a cognizable legal theory as to the twelve
 9    (12) claims for relief asserted in her Complaint (ECF No. 1).
10          This Motion is made following efforts by undersigned counsel to schedule a
11    telephonic conference of counsel, to which Plaintiff did not substantively respond. See
12    Declaration of Melissa Y. Lerner.
13          This Motion is based on this Notice of Motion; the attached Memorandum of
14    Points and Authorities; other pleadings and papers filed in this action; those matters of
15    which the Court may take judicial notice, including those described and attached to
16    Defendant’s Request for Judicial Notice filed concurrently herewith, the Declaration of
17    Melissa Y. Lerner; and such other and further submission, evidence and argument as
18    may be presented to the Court prior to or at the time of hearing on this Motion.
19
      Dated: November 7, 2024                LAVELY & SINGER
20
                                             PROFESSIONAL CORPORATION
21                                           MELISSA Y. LERNER
22

23                                           By:         s/ Melissa Y. Lerner
24
                                                   MELISSA Y. LERNER
                                             Attorneys for Defendant PAUL ARRESI
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.      INTRODUCTION
 3            Plaintiff Christina Taft (“Plaintiff” or “Taft”) has been harassing and defaming
 4    Defendant Paul Barresi (“Defendant” or “Barresi”) for years. This meritless and
 5    frivolous lawsuit is only the latest example of Taft’s weaponization of the legal system
 6    in furtherance of her campaign against Barresi. Previously, Taft filed a meritless
 7    application for a restraining order against Barresi, which was swiftly denied by the court.
 8    She reported false and manufactured complaints against Barresi to the Department of
 9    Consumer Affairs in Los Angeles. She has tried to mobilize law enforcement agencies
10    against Barresi under false pretenses. She publicizes her false allegations against Barresi
11    online in a concerted effort to destroy his reputation and sully his name. Taft is able to
12    pursue her manufactured vendetta against him without any sign of abating because of
13    her substantial financial resources. In contrast, Barresi has suffered physically,
14    emotionally and financially because of Taft’s relentless malevolent and vicious attacks.
15            Taft’s Complaint (ECF No. 1) is filled with incoherent, irrelevant and nonsensical
16    allegations; rumors hatched by a cast of unsavory characters, including several convicted
17    felons; and bizarre conspiracy theories that have no connection to reality. It consists
18    primarily    of   purported   transcriptions   of   conversations   between    non-parties;
19    republications of false and defamatory statements made by non-parties about Barresi and
20    others; allegations of harm experienced by third parties; and (largely incorrect) legal
21    conclusions. Among the fatal legal defects evident from the face of the Complaint are
22    Plaintiff’s lack of any statutory basis or standing to bring criminal claims against Barresi
23    in this civil action; her improper assertion of claims based on second- or third-hand
24    accounts of alleged harm to other people; her failure to allege facts that plausibly satisfy
25    the elements of her purported claims, including damages; and her presentation of legal
26    argument and citations as fact. She has refused to meet and confer substantively
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 1    regarding the defects in her Complaint, instead filing two incoherent and procedurally
 2    defective motions to further churn fees, defame and disparage Barresi and waste judicial
 3    resources.
 4             By way of this Motion, Defendant seeks dismissal of Plaintiff’s Complaint in full
 5    with prejudice and without leave to amend. This case is based on the delusions of a
 6    woman who is undoubtedly obsessed with Defendant. Rule 12(b)(6) motions are
 7    intended to weed out factually implausible and legally defective lawsuits, such as the
 8    one Plaintiff has filed. Accordingly, Defendant respectfully requests that the Court bring
 9    an end to this action and grant him a reprieve from Plaintiff’s relentless onslaught of
10    harassment, defamation and abuse.
11    II.      SUMMARY OF RELEVANT FACTS
12             A.    The Parties
13                   1.    Defendant
14             Defendant is an investigator and consultant who has worked with many high-
15    profile clients over the years. In or about July 2019, Defendant was hired by Amber
16    Heard’s (“Heard”) attorneys, Eric George of Browne George Ross LLP, to investigate
17    her ex-husband, Johnny Depp (“Depp”), in connection with the case Depp v. Heard. In
18    furtherance of his work, Defendant followed leads that brought him into contact with
19    hack jobs seeking the spotlight by involving themselves in this case. After months of
20    research and interviews, Defendant was unable to identify any credible witnesses or
21    legitimate, verifiable claims of wrongdoing by Mr. Depp to support Ms. Heard’s case.
22                   2.    Plaintiff
23             Taft describes herself as a “Humanitarian, Philanthropist, and Entrepreneur” and
24    the founder and CEO of various corporate entities (e.g., Worldie Ltd., a British limited
25    company founded in 2020, and Rescue Social Inc., a Hawaiian corporation founded in
26    September 2023). (ECF No. 1 (“Compl.”) ¶ 15.) These for-profit corporate entities do
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 1    not offer any discernable products or services; rather, they are used as shell companies
 2    by Taft to lend a very thin veneer of “legitimacy” to the false and defamatory lies she
 3    spreads about Barresi and others. The website of Rescue Social Inc. is a repository of
 4    posts authored by Taft that, like the Complaint filed in this action, consist of nonsense
 5    ramblings from a mind untethered to reality or reason. (See, e.g., Declaration of Melissa
 6    Y. Lerner (“Lerner Decl.”) ¶ 2, Ex. A (Rescue Social Inc. website exemplars).)
 7          As reflected in the Complaint, Taft became obsessed with Heard, Depp and their
 8    civil suit as early as 2019. (Compl. ¶ 37.) Taft allegedly met Heard at an event in
 9    Arizona that Taft attended with the goal of “[w]anting to confirm humanity,” all “while
10    on a birthday trip to see her uncle, Don Debaun in Sedona.” (Id. ¶ 38.)
11          The trial in Depp v. Heard was held in Fairfax County, Virginia from April to
12    June 2022. During that time, Taft’s fixation on Heard as a purported victim continued to
13    grow. She routinely attended the trial in Virginia, stood outside the courthouse with
14    signs, and sometimes succeeded in her efforts to speak to reporters about her opinions
15    regarding the case. After Depp prevailed over Heard in the jury trial, Taft became
16    completely unhinged. Around this time, she became convinced that a criminal cabal run
17    by Depp’s attorney, Defendant Adam Waldman (“Waldman”), and including Barresi
18    was responsible for Heard’s defeat through witness intimidation, obstruction of justice
19    and other alleged wrongdoing. (Id. ¶ 48.) Taft connected with unsavory characters who
20    claimed to be fixtures of seedy Hollywood nightlife. (Id. ¶ 49.) These individuals,
21    including convicted felons and mentally ill drug abusers fed who fed her lies, rumors
22    and conspiracy theories had met Barresi in the course of his work for Heard’s attorney in
23    2019. (Id. ¶ 49.) She became convinced without a shred of evidence that Barresi, who
24    was hired by and working for Heard’s attorney, was actually a double agent and part of a
25    criminal cabal and conspiracy with Waldman for Depp’s benefit to defeat Heard. (See,
26    e.g., id. ¶¶ 56, 66, 85, 88-89.) Her Complaint arises from this single delusional premise.
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 1           Over the past two years, Plaintiff has attempted to destroy his career by submitting
 2    frivolous complaints to Consumer Affairs, filed false reports with law enforcement
 3    agencies and the FBI and helped one of her confederates file a meritless restraining order
 4    application against Barresi in state court, which was summarily denied and dismissed.
 5    (Id. ¶¶ 80, 82, 93, 134, 136; see also Lerner Decl. ¶ 11, Ex. I.) This lawsuit and the
 6    incomprehensible motions that have followed since the Complaint was filed are her
 7    latest abuse of process in furtherance of her harassment of Barresi.
 8           B.    The Claims Asserted in the Instant Action
 9                 1.     Federal Criminal Claims
10           Plaintiff alleges in conclusory fashion that Barresi is civilly liable for violations of
11    “Federal Conspiracy Law,” i.e., 18 U.S.C. § 371 (claim for relief 1); obstruction of
12    justice in violation of 18 U.S.C § 1512 (claim for relief 2); interstate communications
13    containing a threat to kidnap or injure another in violation of 18 U.S.C § 875 (claim for
14    relief 9); interstate travel or transportation in aid of racketeering enterprises in violation
15    of the “Travel Act,” i.e., 18 U.S.C § 1952 (claim for relief 10); and destruction,
16    alteration or falsification of records in violation of 18 U.S.C §1519 (claim for relief 11).1
17    These six claims for relief are referred to collectively herein as the “Federal Criminal
18    Claims” or “FC Claims.” In connection with the Federal Criminal Claims, Plaintiff seeks
19    compensatory and punitive damages. (Compl. at pp. 121-22.)
20                 2.     RICO Claim
21           Plaintiff asserts a claim against Barresi pursuant to the Racketeer Influenced and
22    Corrupt Organizations Act (“RICO Act”), citing 18 U.S.C. §§ 1961, 1962 (claim for
23    relief 12). Plaintiff’s claim for relief is primarily comprised of a recitation of the
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        Plaintiff also characterizes her first claim for relief as one rooted in “common law,”
26    although she cites to 18 U.S.C. § 371 in her first claim for relief. (See ECF No. 1
27    (“Compl.”) at ¶ 436, p. 121, lines 3-9.)

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 1    statutory language of the RICO Act coupled with conclusory allegations; it is devoid of
 2    any well-pleaded facts. (Compl. ¶¶ 637-55.)
 3                  3.        California State Law Claims
 4           Plaintiff’s remaining six claims for relief are rooted in California law. Based again
 5    on conclusory allegations and legal argument, Plaintiff claims that Barresi is liable for
 6    invasion of privacy under the California Constitution (claim for relief 3); infringement of
 7    her name and likeness in violation of Cal. Civ. Code § 3344 (claim for relief 4); civil
 8    harassment in violation of Cal. Civ. Proc. Code § 527.6 (claim for relief 5); negligence
 9    in violation of Plaintiff’s civil rights (claim for relief 6); infliction of emotional distress
10    (“IIED”) (claim for relief 7); and negligent infliction of emotional distress (“NIED”)
11    (claim for relief 8).
12           C.     Procedural Background
13           On or about October 6, 2024, Defendant’s recently-retained counsel attempted to
14    contact Plaintiff, who is purportedly proceeding in pro per, at the telephone number and
15    email address contained in the caption of the Complaint. (Lerner Decl. ¶ 3.) The
16    telephone number is invalid. (Ibid.) No response was received from the email address
17    provided by Plaintiff in the instant action. (Ibid.) Eventually, after sending
18    correspondence to other publicly-available email addresses associated with Plaintiff,
19    Plaintiff responded to Defendant’s counsel, copying two alleged “legal consultants,”
20    Lucy Hanna (“Hanna”) and Melodye Sue Hannes (“Hannes”). (Id. ¶ 4.)2 Plaintiff
21    ultimately agreement to an extension of the deadline for Defendant to respond to the
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      2
        Hanna is listed as the “Media Contact” for Plaintiff in an online posting about the
24    instant action dated October 17, 2024. (Lerner Decl. ¶ 6, Ex. C.) Hannes was disbarred
25    over 18 years ago, pursuant to a State Bar Court of California order dated June 26, 2006,
      after embezzling $317,584.41 of client funds from her firm’s client trust account and
26    spending it on lavish vacations, clothing, dinners out and other personal expenses. (See
27    Lerner Decl. ¶ 7, Exs. D, E.)

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 1    Complaint. (Id. ¶ 5.) On October 17, 2024, the parties filed a stipulation extending
 2    Defendant’s response deadline. (See ECF No. 14.) Immediately thereafter, Defendant’s
 3    counsel again requested Plaintiff’s availability to schedule a pre-motion conference via
 4    telephone or Zoom but received no response. (Lerner Decl. ¶ 5.) Instead, on October 24,
 5    2024, Plaintiff served a document captioned “Emergency Motion for Preliminary
 6    Injunction” (“PI Motion”) on Defendant via email, and Defendant received a PACER
 7    alert regarding the filing of the PI Motion on October 25, 2024. (Id. ¶ 8; see also ECF
 8    Nos. 15, 16.) On October 31, 2024, Hanna contacted Defendant’s counsel regarding the
 9    PI Motion and Plaintiff’s plan to seek leave of court to file an amended Complaint.
10    (Lerner Decl. ¶ 9, Ex. F.) In follow-up emails dated November 1 and 2, 2024, Plaintiff
11    purported to provide notice of a motion for leave to file an amended Complaint with
12    vague references to attaching witness statements and consolidating/streamlining causes
13    of action to comply with unspecified rules. (Lerner Decl. ¶ 10, Exs. G, H.) As of the date
14    of this filing, Plaintiff has failed and refused to engage in a substantive discussion
15    regarding Defendant’s basis for this Motion. Instead, on November 6, 2024, Plaintiff
16    served Defendant with a single spaced, 25-page document styled as a Brief with
17    Memorandum in Support of Plaintiff’s Motion to Amend Complaint and Continued
18    Injunction Requests With Points and Authorities.” (Id. ¶ 12, Ex. J.)
19    III.   LEGAL STANDARD
20           A complaint must be dismissed if it fails to state a claim on which relief may be
21    granted. Fed. R. Civ. P. 12(b)(6). “Dismissal under Rule 12(b)(6) is proper when the
22    complaint either (1) lacks a cognizable legal theory or (2) fails to allege sufficient facts
23    to support a cognizable legal theory.” Somers v. Apple, 729 F.3d 953, 959 (9th Cir.
24    2013). To survive a motion to dismiss, a complaint “must contain sufficient factual
25    matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.
26    Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals of the elements of a cause of
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 1    action, supported by mere conclusory statements, do not suffice.” Id. at 663. A court is
 2    not “bound to accept as true legal conclusions couched as factual allegations.” Bell Atl.
 3    Corp. v. Twombly, 550 U.S. 545, 555 (2007). In addition to the well-pleaded allegations
 4    of fact in the complaint, a court may consider facts not subject to reasonable dispute,
 5    including documents incorporated by reference into the pleading or which are
 6    “essential” to the claims as well as official public records. Knievel v. ESPN, Inc., 393
 7    F.3d 1068, 1076 (9th Cir. 2005).
 8    IV.   ARGUMENT
 9                 A. Plaintiff’s Federal Criminal Claims Should Be Dismissed for Failure
10                      to State a Claim Upon Which Relief May Be Granted.
11                 1.     Plaintiff Lacks Standing to Prosecute Defendant for Alleged
12                        Violations of Federal Criminal Law.
13          It is a fundamental precept of law that “[t]he terrifying force of the criminal justice
14    system may only be brought to bear against an individual by society as a whole, through
15    a prosecution brought on behalf of the government,” and “that a criminal prosecution
16    pits the government against the governed, not one private citizen against another.”
17    Robertson v. United States ex rel. Watson, 560 U.S. 272, 273, 278 (2010) (Roberts, C.J.,
18    dissenting) (emphasis added). “[C]riminal provisions provide no basis for civil liability.”
19    Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980) (affirming district court dismissal
20    with prejudice of complaint including claims pursuant to federal criminal laws). And
21    private citizens like Plaintiff lack standing to prosecute federal crimes. O. L. v. Newsom,
22    No. 21-55362, 2022 WL 885151, at *1 (9th Cir. Mar. 25, 2022) (finding “the district
23    court properly dismissed plaintiff’s action because plaintiff lacks standing to compel the
24    investigation or prosecution of another person”); accord Linda R.S. v. Richard D., 410
25    U.S. 614, 619 (1973) (affirming dismissal of complaint asserting claims under Texas
26    Penal Code); see also Eagle Fin. Serv. v. C.I.P. Venture Grp., LLC, No. CIV. 07-CV-
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 1    800LAJB, 2007 WL 1430060, at *3 (S.D. Cal. May 14, 2007) (“The case law on this
 2    topic is clear: an individual has no legally cognizable interest, and thus no standing
 3    under Article III, in the demand of a grand jury investigation of another, the prosecution
 4    of others, or the enforcement of criminal laws.”); Ashraf v. Reliance Motors, LLC, No.
 5    20-cv-08506, 2020 WL 7382101, at *4 (Dec. 10, 2020) (dismissing claims brought
 6    under 18 U.S.C. §§ 241, 242, 1001, 1341, 1343 and 1621 because “[t]hese statutes
 7    provide a basis for criminal liability, not civil liability,” and holding that, “[a]s a private
 8    citizen, [plaintiff] Ashraf does not have standing to pursue claims for alleged violations
 9    of these criminal statutes”); Gremmels v. Somkin, No. 21-cv-05395, 2021 WL 8153586,
10    at *1 (N.D. Cal., Oct. 12, 2021) (“As a general rule, ‘[f]ederal criminal statutes provide
11    no basis for civil liability.’”) (citation omitted), R. & R. adopted, 2021 WL 6333452
12    (N.D. Cal., Nov. 16, 2021).
13          Plaintiff does not provide “any authority establishing that as a private citizen [s]he
14    has standing to enforce” the criminal statutes she cites as the basis of her claims.
15    Gremmels, 2021 WL 8153586, at *1. In short, “[a]lthough [P]laintiff’s [C]omplaint
16    references violations of certain federal criminal statutes, [P]laintiff, as a private citizen,
17    does not have standing to prosecute violations of federal criminal statutes.” Dorsey v.
18    Ricci, No. 18-cv-1256, 2018 WL 4372885, at *1 (June 7, 2018). For this reason alone,
19    Plaintiff’s FC Claims should be dismissed with prejudice and without leave to amend.
20                 2.     The Criminal Statutes Forming the Basis of Plaintiff’s Claims Do
21                        Not Create a Private Cause of Action.
22          Setting aside that Plaintiff lacks standing to prosecute Barresi for purported
23    violations of federal criminal law in this civil lawsuit, the Federal Criminal Claims are
24    also subject to dismissal because none of the criminal statutes from which they arise
25    provide Plaintiff with a private right of action. It is exceedingly rare for a private right of
26    action to exist under a federal criminal statute. See, e.g., Chrysler Corp. v. Brown, 441
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 1    U.S. 281, 316-17 (“[W]e noted that this Court has rarely implied a private right of action
 2    under a criminal statute, and where it has done so there was at least a statutory basis for
 3    inferring that a civil cause of action of some sort lay in favor of someone.) (quotations
 4    omitted) (no private right of action under Trade Secrets Act, 18 U.S.C. § 1905). There is
 5    ample case law confirming that the statutes invoked by Plaintiff in her Complaint are no
 6    exception.
 7          The federal criminal conspiracy statute that forms the basis of Plaintiff’s first
 8    claim for relief (i.e., 18 U.S.C. § 371) does not create a private right of action. See, e.g.,
 9    Henry v. Universal Tech. Inst., 559 F. App’x 648, 650 (9th Cir. 2014) (“[T]he district
10    properly dismissed [plaintiff’s] claims under the Family Educational and Privacy Act
11    (“FERPA”) and 18 U.S.C § 371 because these statutes do not provide a private right of
12    action.”); Iyeke v. Gardiner, No. 23-cv-01454, 2023 WL 3979488, at *1 (C.D. Cal. May
13    22, 2023) (holding plaintiff could not bring claim under 18 U.S.C § 371 because the
14    federal statute does not give rise to a private cause of action).
15          The same is true for Plaintiff’s second claim for relief predicated on the federal
16    criminal law against obstruction of justice (i.e., 18 U.S.C. § 1512). Bosworth v.
17    Escalante, No. 13-cv-2924, 2013 WL 2627061, at *6 (C.D. Cal. June 11, 2013)
18    (dismissing plaintiff’s claim under 18 U.S.C. §1512 because “only a prosecutor can
19    bring criminal charges…[and] [c]riminal statutes do not provide for private civil causes
20    of action”); see also Shahin v. Darling, 606 F. Supp. 2d 525, 538-39 (D. Del. 2009),
21    aff’d 350 F. App’x 605. (3d Cir. 2009) (“The complaint refers to § 1512 which
22    criminalizes tampering with a witness, victim or an informant. Plaintiff, however, has no
23    private cause of action for the alleged violation of 18 U.S.C § 1512.”).
24          Likewise, the statute cited in Plaintiff’s ninth claim for relief (i.e.,
25    18 U.S.C. § 875) does not create a private right of action. Intermarketing Media, LLC v.
26    Barlow, No. 20-CV-00889, 2021 WL 5990190, at *2 (C.D. Cal. May 4, 2021)
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 1    (dismissing with prejudice plaintiffs’ claims brought under three federal criminal
 2    statutes, including 18 U.S.C. § 875, because “[t]hese statutes do not authorize a private
 3    right of action”).
 4          Nor does the Travel Act (18 U.S.C. § 1952), which is the basis of Plaintiff’s tenth
 5    claim for relief. See, e.g., Kissi v. Panzer, 664 F. Supp. 2d 120, 127 (D.D.C. 2009)
 6    (dismissing claim under 18 U.S.C. § 1952 because statute does not create a private right
 7    of action and collecting cases); Bajorat v. Columbia-Breckenridge Dev. Corp., 944 F.
 8    Supp. 1371, 1377-78 (N.D. Ill. 1996) (dismissing claim brought under Travel Act and
 9    other federal criminal statutes because “none of these criminal statutes contain an
10    express private right of action” and “[p]laintiffs have not cited, nor has this court found,
11    any decision holding that these statutes carry an implied private right of action”); Barrett
12    v. City of Allentown, 152 F.R.D. 50, 56 (E.D.Pa.1993) (“No civil action has been held to
13    exist under . . . 18 U.S.C. § 1952[.]”); Schwartz v. F.S. & O. Assocs., Inc., No. 90–1606,
14    1991 WL 208056, at *2–3 (S.D.N.Y. Sept. 27, 1991) (finding that violations of 18
15    U.S.C. §§ 1952, 1956 and 1957 do not create private rights of action).
16          Finally, the statute underlying Plaintiff’s eleventh claim for relief (i.e., 18 U.S.C.
17    § 1519) does not carry an express or implied private right of action. Beach v. U.S. Dep’t
18    of Homeland Sec., No. 08-cv-420, 2008 WL 11338005, at *2 (C.D. Cal. May 16, 2008)
19    (dismissing with prejudice plaintiff’s claim brought under 18 U.S.C. § 1519 because
20    statute “do[es] not provide a private right of action to citizens”).
21          Accordingly, Plaintiff’s Federal Criminal Claims should be dismissed with
22    prejudice and without leave to amend.
23          B.     Plaintiff’s RICO Claim Fails as a Matter of Law
24          “The elements of a civil RICO claim are simple enough: (1) conduct (2) of an
25    enterprise (3) through a pattern (4) of racketeering activity (known as ‘predicate acts’)
26    (5) causing injury to the plaintiff’s ‘business or property.’” Grimmett v. Brown, 75 F.3d
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 1    506, 510 (9th Cir. 1996). Here, Plaintiff has failed to allege facts sufficient to establish
 2    the existence of an enterprise, a pattern of predicate acts or injury to her business or
 3    property. Plaintiff’s twelfth claim for relief merely quotes the RICO statute or case law
 4    interpreting the law. (See generally Compl. ¶¶ 638-39, 642-55.) Plaintiff’s allegations
 5    regarding the existence of an “enterprise” is based on Barresi allegedly calling Waldman
 6    a “consiglieri” and the fact that they have spoken on the phone. (See id. ¶¶ 641, 645.)
 7    The predicate acts alleged in the RICO claim are based on accusations of others about
 8    purported witness intimidation, audio recordings (Plaintiff seems to forget her proclivity
 9    to record and/or share unauthorized recordings of phone calls and private conversations),
10    vague allegations about “fabricating and alterations” of documents and the fact that
11    Barresi and Waldman “have been involved in federal investigations as interested
12    subjects.” (Id. ¶¶ 90, 95-97, 101-13, 126, 640, 643-47.) Most critically, Plaintiff’s
13    Complaint is devoid of a single well-pled factual allegation regarding any damage to her
14    business or property caused by Barresi and/or Waldman. (Id. ¶¶ 651 (“Defendants
15    caused injury to Plaintiff and her business and property by their conduct with continuous
16    violations.”); 653 (“Plaintiff respectfully requests this Court issue an injunction against
17    the Defendants, to address and prevent further harm resulting from the Defendant’s [sic]
18    negligent conduct, including but not limited to, racketeering conduct, which has caused
19    Plaintiff significant emotional distress and significant financial damages.”).) These
20    conclusory allegations do not state a plausible claim for relief. Accordingly, Plaintiff’s
21    twelfth claim for relief should be dismissed.
22          C.     Plaintiff Fails to Allege Sufficient Facts to State a Claim under
23                 California Civil Code § 3344
24          Plaintiff has not alleged any facts to establish that Defendant has used her name,
25    image or likeness (“NIL”) for his own economic benefit. The right to publicity at its core
26    is an economic right. Comedy III Prods., Inc. v. Gary Saderup, Inc., 25 Cal. 4th 387, 403
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 1    (2001) (“The right of publicity is essentially an economic right. What the right of
 2    publicity holder possesses is not a right of censorship, but a right to prevent others from
 3    misappropriating the economic value generated by the [plaintiff] through merchandising
 4    of the ‘name, voice, signature, photograph or likeness of the [plaintiff].’”); Gionfriddo v.
 5    Major League Baseball, 94 Cal. App. 4th 400, 409 (2001) (“California recognized the
 6    right to profit from the commercial value of one’s identify as an aspect of the right of
 7    publicity.”).
 8          Because Section 3344 prohibits an invasion of an economic right, cases in which
 9    these claims are asserted comprise of an allegation that the defendant has used the
10    plaintiff’s name or likeness in a typical commercial context, such as to advertise,
11    endorse or sell a product or service. Abdul-Jabbar v. Gen. Motors Corp., 85 F.3d 407,
12    409 (9th Cir. 1996) (famous basketball player brought claim under § 3344 for use of his
13    name in an automobile commercial which aired five to six times on television); Comedy
14    III Prods., 25 Cal. 4th at 393 (owner of rights to comedy act brought action against artist
15    who sold T-shirts which bore the likeness of the comedy act); Dora v. Frontline Video,
16    Inc. 15 Cal. App. 4th 536, 540 (1993) (plaintiff brought claim for use of footage of
17    plaintiff surfing and interview of plaintiff in defendant’s documentary). The statute
18    requires that the plaintiff demonstrate that there is a direct connection between the
19    alleged use and its commercial purpose. Abdul-Jabbar, 85 F.3d at 414.
20          Plaintiff has alleged two “uses” that infringed her NIL. First, Plaintiff alleges
21    (without any legitimate basis) that an audio tape of her voice was sold that in a single,
22    private transaction. See (Compl. ¶ 511.) Second, Plaintiff vaguely and in a conclusory
23    manner alleges that Mr. Barresi used her name, voice and likeness in “promotional
24    materials profiling her as ‘Hollywood Fixer.’” (Id. ¶ 515.) The alleged receipt of
25    compensation for evidence obtained through an investigation is not the type of public
26    commercial use that is addressed by Section 3344. Similarly, Defendant’s alleged
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 1    posting of investigative materials regarding Plaintiff (in response to Plaintiff’s public
 2    allegations against him, thereby thrusting the topic into the public domain) lacks the
 3    direct connection with a commercial purpose. (Id. ¶¶ 512-13.) Tellingly, Plaintiff has not
 4    alleged any economic harm. (See id. ¶¶ 515-23.)
 5          D.     Plaintiff’s IIED and NIED Claims Fail Because Plaintiff Has Not
 6                 Adequately Alleged the Elements of Outrageous Conduct or Severe
 7                 Emotional Distress
 8          Plaintiff’s seventh and eighth claims for relief, for IIED and NIED, respectively,
 9    are subject to dismissal Plaintiff has not alleged outrageous conduct or any direct
10    causation of her severe or extreme emotional distress.
11                 1.    Plaintiff Has Failed to Allege Facts that Demonstrate Mr.
12                       Barresi’s Conduct was Outrageous
13          Under a claim for IIED, a plaintiff must allege that the conduct at issue is extreme
14    and outrageous. Dove v. PNS Stores, Inc., 982 F. Supp. 1420, 1424 (C.D. Cal. 1997).
15    The standard for whether conduct can be considered outrageous is high, as the conduct
16    must be “so extreme to exceed all bounds of that usually tolerated in a civilized society”.
17    Ibid. The conduct must additionally be “intended to inflict injury or engaged in with the
18    realization that injury will result.” Jackson v. Mayweather, 10 Cal. App. 5th 1240, 1265
19    (2017) (quoting Hughes v. Pair, 46 Cal. 4th 1035, 1051 (2009)). Mere insults, threats,
20    annoyances, petty oppressions, or other trivial acts cannot support a claim for IIED. Id.
21    at 1050.
22          Plaintiff’s allegations of outrageous conduct, including Defendant’s alleged rude
23    statements, threats and defense of his reputation, fall far short of the level of conduct
24    tolerated in other cases asserting a claim for IIED. Jackson, 10 Cal. App. 5th at 1265
25    (defendant posting on social media about plaintiff’s alleged abortion, along with a
26    sonogram of fetuses and medical report regarding the pregnancy and additional
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 1    discussion about the abortion during a radio interview could not “fairly be characterized
 2    as atrocious or intolerable in a civilized society”); Hughes, 46 Cal. 4th 1035, 1040-1052
 3    (2009) (defendant’s sexually explicit comments, including “I’ll get you on your knees
 4    eventually” and “I’m going to fuck you one way or another,” failed to rise to the level of
 5    outrageous conduct); Schneider v. TRW, Inc. 938 F.2d 986, 992 (9th Cir. 1991)
 6    (defendant yelling and screaming about plaintiff’s job performance, threatening
 7    employment and threatening gestures did not amount to outrageous conduct).
 8          Even if Plaintiff’s allegations regarding “harassing messages” she or others
 9    received from Defendant are taken as true, more than implied threats, rude language or
10    insults are necessary to support an NIED or IIED claim. Cochran v. Cochran, 65 Cal.
11    App. 4th 488, 496 (1998) (“[P]laintiffs must necessarily be expected and required to be
12    hardened to a certain amount of rough language, and to occasional acts that are
13    definitely inconsiderate and unkind. There is no occasion for the law to interfere in every
14    case where some one’s feelings are hurt.”). Plaintiff states that Barresi made “implied
15    threats of harm” (See, e.g., Compl. ¶ 102.) “Implied threats” are not enough to prove
16    outrageous conduct; the element requires a more concrete statement or message intended
17    to “compel behavior through threats of physical violence or death.” Kiseskey v.
18    Carpenters’ Trust for S. Cal., 144 Cal. App. 3d 222, 230 (1983). Plaintiff’s irrational
19    interpretation of Barresi’s purported statements or actions (particularly those directed at
20    third parties) cannot satisfy this element of her IIED and NIED claims. Cochran, 65
21    Cal.App.4th 488, 499 (1998) (telephone message made to plaintiff discussing an airline
22    crash which which was interpreted by the plaintiff as a death threat was not considered
23    outrageous). On this basis alone, Plaintiff’s IIED and NIED claims are subject to
24    dismissal.
25                 2.    Plaintiff Has Failed to Assert that She Has Suffered Severe or
26                       Extreme Emotional Distress
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 1          To prevail on her IIED and NIED claims, Plaintiff must assert that she has
 2    suffered severe or extreme emotional distress as a result of Defendant’s conduct. Dove v.
 3    PNS Stores, Inc., 982 F. Supp. 1420, 1424 (C.D. Cal. 1997). The emotional distress must
 4    be of “such substantial quality or enduring quality that no reasonable person in civilized
 5    society should be expected to endure it.” Duronslet v. Cnty. of Los Angeles, 266 F. Supp.
 6    3d 1213, 1220 (C.D. Cal. 2017) (quoting Hughes, 46 Cal. 4th at 1051). Like the element
 7    of outrageous conduct, the element is not easily satisfied and the level of distress
 8    required is significant. Skiffington v. Keystone RV Co., No. 12-cv-09359, 2013 WL
 9    12133662, at *7 (C.D. Cal., Dec. 9, 2013) (quoting Wong v. Tai Jing, 189 Cal. App. 4th
10    1354, 1376 (2010)) (“The California Supreme Court has a set a high bar for what can
11    constitute severe distress”).
12          Plaintiff’s general allegations and recitations of the element are not sufficient to
13    meet the high standard required to prove severe emotional distress. In cases where
14    severe emotional distress was found, plaintiffs have described in detail how the alleged
15    conduct impacted their emotional and physical state. Bikkina v. Mahadevan, 241 Cal.
16    App. 4th 70, 88 (2015) (plaintiff provided sufficient evidence to survive a motion to
17    strike where defendant’s conduct “caused him to begin clenching his teeth to such a
18    degree that he had broken two teeth requiring dental implants”, had ongoing stomach
19    and chest pains, suffered from insomnia, and was fearful of losing his employment);
20    Kelly-Zurian v. Wohl Shoe Co., 22 Cal. App. 4th 397, 410 (1994) (plaintiff suffered from
21    anxiety, tightness in chest, heart palpitations, panic attacks, depression and diagnosis of
22    post-traumatic stress disorder). Plaintiff’s claim that she felt fearful and that this
23    prevented her from functioning normally is the type of generalized anxiety that is not
24    actionable as IIED or NIED. Wong v. Jing, 189 Cal. App. 4th 1354, 1377 (2010)
25    (plaintiff’s loss of sleep, upset stomach and generalized anxiety did not support finding
26    of severe or enduring emotional distress); Hughes, 46 Cal. 4th at 1051 (“plaintiff’s
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 1    assertions that she has suffered discomfort, worry, anxiety, upset stomach, concern as
 2    the result of defendant’s” conduct could not support element of severe emotional
 3    distress).
 4            In sum, because Plaintiff cannot sufficiently allege two essential elements her
 5    emotional distress claims, both her IIED and NIED claims must be dismissed.
 6            E.    Plaintiff’s Invasion of Privacy Claim Fails
 7            Plaintiff does not have standing to assert an invasion of privacy claim on behalf of
 8    her late mother. (See Compl. ¶¶ 482-95.) In addition, as discussed hereinabove, she
 9    cannot assert claims against Defendant for violation of criminal statutes, such as
10    California Penal Code sections 630-638. (Id. ¶¶ 505, 507.) Taft’s publication of detailed
11    information about herself and her mother prevent her from claiming a reasonable
12    expectation of privacy in this information. Her invasion of privacy claim should be
13    dismissed.
14            F.    Plaintiff’s Civil Harassment Claim Fails
15            Plaintiff fails to allege that Barresi has engaged in a pattern of harassment, and her
16    Complaint is devoid of any credible threat of violence or actual violence. Cal. Civ. Code
17    § 527.6(b)(2), (3), (7). Plaintiff’s paranoid delusions about communications from
18    Defendant do not turn his conduct into the kind that would “cause a reasonable person to
19    suffer substantial emotional distress, and must actually cause substantial emotional
20    distress to the petitioner.” Id. § 527.6(b)(3). Plaintiff’s civil harassment claim is also
21    subject to dismissal for failure to state facts giving rise to a plausible claim for relief.
22    V.      CONCLUSION
23            For the reasons set forth hereinabove, Defendant Paul Barresi respectfully
24    requests that the Court dismiss Plaintiff’s Complaint and each claim for relief contained
25    therein without leave to amend and with prejudice.
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      Dated: November 7, 2024             LAVELY & SINGER
                                          PROFESSIONAL CORPORATION
 3                                        MELISSA Y. LERNER
 4

 5                                        By:         s/ Melissa Y. Lerner
 6                                              MELISSA Y. LERNER
                                          Attorneys for Defendant PAUL ARRESI
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 1                            L.R. 11-6.2 Certificate of Compliance
 2          The undersigned, counsel of record for Defendant, certifies that this brief contains
 3    5191 words, which complies with the word limit of L.R. 11-6.1.
 4

 5
      Dated: November 7, 2024               LAVELY & SINGER
                                            PROFESSIONAL CORPORATION
 6                                          MELISSA Y. LERNER
 7

 8                                          By:         s/ Melissa Y. Lerner
 9                                                MELISSA Y. LERNER
                                            Attorneys for Defendant PAUL ARRESI
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 1
                                        PROOF OF SERVICE

 2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
            I am employed in the County of Los Angeles, State of California. I am over the
 4    age of 18 and not a party to the within action. My business address is 2049 Century
 5    Park East, Suite 2400, Los Angeles, California 90067-2906.

 6          On the date indicated below, I served the foregoing document described as:
 7
        DEFENDANT PAUL BARRESI’S NOTICE OF MOTION AND MOTION TO
 8      DISMISS COMPLAINT PURSUANT FED. R. CIV. P. 12(b)(6);
 9      MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
        MELISSA Y. LERNER IN SUPPORT THEREOF
10

11    on the interested parties in this action as follows:

12    Christina Taft
13    1700 Ala Moana Bl., Apt 2301
      Honolulu, HI 96815
14    Email: ceo.taft@rescue-social.com
15

16          BY FIRST CLASS MAIL: I am “readily familiar” with the firm=s practice of
17          collection and processing correspondence for mailing. Under that practice it
            would be deposited with the U.S. Postal Service on that same day with postage
18          thereon fully prepaid at Los Angeles, California in the ordinary course of
19          business.
20          BY ELECTRONIC FILING THROUGH THE COURT’S CM/ECF
21          SYSTEM PURSUANT TO L.R. 5-3.2.
22

23          I declare that I am employed in the office of a member of the Bar of this court at
      whose direction the service was made. Executed November 8, 2024, at Los Angeles,
24    California.
25
                                                     s/ Noelia Echesabal
26                                                   NOELIA ECHESABAL
27

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